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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                 4:09CR3057
                                          )
          V.                              )
                                          )
TAMI M. RIECK,                            )                   ORDER
                                          )
                 Defendants.              )
                                          )


    IT IS ORDERED:

    1)    Defendant Tami Rieck’s motion to withdraw her motion for pretrial
          for release, (filing no. 27), is granted.

    2)    This defendant’s motion for pretrial release, (filing no. 24), is
          withdrawn, and her hearing on the motion for release scheduled for
          today, June 26, 2009, at 1:30 p.m. is cancelled.

    DATED this 26th day of June, 2009.

                                         BY THE COURT:

                                         S/Richard G. Kopf
                                         United States District Judge
